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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY
                                                            ~~
SECURITIES AND EXCHANGE COMMISSION,

                      Plaintiff,                                   15 Civ. 8656(JLL)

       -against-                                                   ECF Case

SAMUEL DELPRESTO,MLF GROUP,LLC                                     SECOND AMENDED
DONALD TOOMER,JR.,
and DARKEN GOODRICH                                                COMPLAINT

                      Defendants.


       ~'laintiff Securities and Exchange Commission ("Commission"), for its Complaint against

Defendants Samuel DelPresto ("DelPresto")(who, upon information and belief; currently resides

at 8 Hop Brook Lane, Holmdel, New Jersey 07733), MLF Group. LLC("MLF")(whose

principal place of business is currently 8 Hop Brook Lane, ~~Iolindel, New Jersey 07733),

Donald roomer, Jr.("roomer")(who, upon information and belief, currently resides at 2283

Candlestick Avenue, Las Vegas, Nevada 89134) and Darren Goodrich (``Goodrich")(who, upon

information and belief, currently resides at 823 6`'' Street; Manhattan Beach, California 90266)

(collectively, the "Defendants"), alleges as follows:
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                                           SUMMARY

                This case involves a series of fraudulent schemes designed to manipulate the

market price of and demand for the stock of four issuers: BioNeutral Group, Inc.("BONU");

NXT Nutritionals Holdings, Inc.("NXTH"); Mesa Energy Holdings, Inc,("MSEEI"); and Clear-

Lite Holdings, Inc.("CLRH"){collectively, the "Issuers")

        2.      Each of the schemes followed a similar pattern. DelPresto and his business

partner ("Individual A")identified a private company in need of financing, and orchestrated a

reverse merger of it and a public shell company whose unrestricted stock DelPresto and

Individual A controlled either directly, or through accounts they controlled (the "Nominees")

Once the reverse merger was consummated, DelPresto and Individual A engaged in manipulative

trading and paid for promotional campaigns, both designed to engineer an attractive and risinb

stock price. Once the Issuer's stock price had reached sufficiently high levels, DelPresto and

Individual A sold their stock into the public market at the expense of unwitting investors.

        3.      DelPresto, Individual A, and certain of the Nominees deposited certain of their

unrestricted shares in brokerage accounts with Goodrich, a registered representative and. market

maker at abroker-dealer ("Broker-Dealer A"). Goodrich, DelPresto, Individual A and other

participants in the scheme engaged in a pattern of matched trading between. and amongst

brokerage accounts that they controlled. Goodrich used his role as a market maker to facilitate

the coordinated and manipulative trading for the scheme.

        4.      DelPresto and Individual A also recruited Toomey. an investment adviser

 representative, employed by the investment adviser and broker-dealer arm of a large bank

("Financial Institution 1"), to join the scheme. Toomey agreed. to an arrangement with DelPresto

 and Individual A in which Toomey would buy the stock. ofthree of the Issuers(NXTH, MSEH,
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 and CLRH)in his clienCs' portfolios in exchange for receiving kickbacks of up to 10 percent of

the total shares he had his clients buy. Toomer's purchases in his clients' accounts in the open

 market contributed to the Issuers' rising sCock price and gave the false appearance of market

 demand for the securities.

                Individual A also recruited his friends and family members(the "Friendly

Investors") to open brokerage accounts to trade the Issuers' securities. DelPresto, Individual A,

and other participants in the scheme engaged in a pattern of matched trading between and

amongst the Friendly Investor accounts and accounts they controlled to create the false

appearance of liquidity.

        6.      These fraudulent schemes generated profits of approximately $1 ~ million for

DelPresto and his entity, MLF.

                As agreed, DelPresto and Individual A paid Toomer kickbacks of hundreds of

thousands of dollars, which Toomer described as equaling approximately 10% oFthe price of the

Issuers' stock purchased by Toomey on behalf of his clients.

        8.       Goodrich's trading in the Issuer's stock, in accounts associated with the

fraudulent scheme generated at least $1,525,827 in hark-ups for Goodrich and Broker-Dealer A.

                 NATURE OF THE PROCEEDING AND RELIEF SOUGHT

        9.      By virtue of the foregoing conduct and as alleged further herein, DelPresto, MLF,

 Toomey and Goodrich, directly or indirectly, have engaged in transactions, acts, practices, and

 courses of business that violated Section 17(a)(1) and (3) of the Securities Act of 1933

 {"Securities Act")[15 U.S.C. §§ 77q(a)(1) and (3)] and Section. 10(b) of the Securities Exchange

 Act of 1934("Exchange Act")[15 U.S.C. § 7$j(b)] and lOb-5(a) and (c)thereunder [17 C.F.R.

 §§ 240,l Ob-5(a) and (c)]_
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       10.     The Commission brings this action pursuant fo t11e authority conferred upon it by

Section 20 of the Securities Act [15 U.S.C. ~ 77t] and Section 21(d) of the Exchange Act [15

U.S.C. § 78u(d)] seeking a final judgment:(a) permanently restraining and enjoining the

Defendants from engaging ir1 t17e acts, practices and courses of business allebed herein;(b)

ordering the Defendants to disgorge all ill-gotten gains with prejudgment interest thereon;(c)

ordering the Defendants to pay civil money penalties pursuant to Section 20(d) of the Securities

Act [15 U.S.C. § 77t(d)] and Section 21(d)(3) of the Exchange Act [15 U.S.C. § 78u(d)(3)];(d)

prohibiting the Defendants from participating in any offering of penny stock pursuant to Section

20(g) of the Securities Act [l~ U.S.C.~~' 77t(g)] and Section 21(d)(6) of the Exchange Act [15

U.S.C. ~ 78u(d)(6)]; and ordering such equitable and other relief as the Court deems just,

appropriate or necessary for the benefit ofinvestors [15 U.S.C. § 78u(d)(~)].

                                 JURISDICTION AND VENUE

        11.    The Court has jurisdiction over phis action pursuant to Sections 20(b) and 22(a) of

the Securities Act [15 U.S.C. ~~ 7~t(b) and 77v{a)] and Sections 21(d) and 27 of the Exchange

Act [15 U.S.C. S§ 78u(d) and 78aa]. The Defendants, directly or indirectly, have made use of

the means or instruments of transportation or communication in interstate commerce, or of the

mails, or of a facility of a national securities exchange, in connection with the transactions, acts,

practices and courses of business alleged herein.

        12.    Venue properly lies in the District of New Jersey pursuant to Section 22(a) of the

Securities Act[15 U.S.C. ~ 77v(a)] and Section 27 of the Exchange Act [15 U.S.C. § 78aa]

because offers, purchases and sales of certain of the securities at issue in this case took place in

this district and certain of the acts, practices, courses of business and transactions constituting the

violations alleged herein occurred within. the District of New Jersey. DelPresto resides in this
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District, MLF's principal place of business is in this District, at least two of Toomer's clients in

whose accounts he boubht NXTH, MSEH,and CLRFI stock as alleged herein reside in this

District, and at least two ofthe Nominees in whose accounts Goodrich traded NXTH, MSEH,

and CLRH stock as alleged herein reside or have a principal place of business in the District of

New Jersey.

                                          DEFENDANTS

        13.      DelPresto, age 47, resides in Holmdel, New Jersey. In 1998, DelPresto pleaded

guilty to conspiracy to conunit securities fraud in the District of New Jersey.

        14.      MLF is a New Jersey limited liability company with its principal place of

business in Holmdel, New Jersey. At all relevant times, MLF was beneficially owned,

controlled, and operated by DelPresto.

        15.      Toomer, age 42, resides in Las Vegas, Nevada. Since at least 2006, he has been

licensed as both an investment adviser representative and. a registered representative at Financial

Institution 1.

        16.      Goodrich, age 38, resides in Manhattan Beach, California. From at least 2001

through 201 ~, he was licensed as both a market maker and registered representative at Broker-

Dealer A.

                                             ISSUERS

        17.      BOND is a Nevada corporation headquartered in New Jersey. From

approximately February 18, ?009 through at least August 31, 2009, BONU's common stock was

quoted on the Over-the-Counter Bulletin Board ('`OTC ~BB"). In 2009, BOND had tangible

assets and revenues of less than $1 million. BOND describes itself as a specialty chemical




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company engaged in the development and commercialization of technology to neutralize

environmental contaminants, toxins, and micro-organisms.

       18.     NXTH is a Delaware corporation with its principal place of business in Holyoke,

Massachusetts. From on or about January 12, 2009 through. at least May 30, 2010, NXTH's

common stock was quoted on the OTC BB. 1n both 2009 and 2010, NXTH had tangible assets

of less than $3 million and. revenues of less than $1 million. NXTH describes itself as an

alternative food and beverage development company engabed in the development of healthy

alternative sweeteners.

       19.     MSEH was a Delaware corporation with its principal place of business in Dallas,

Texas. From approximately December 14,?009 through at least May 30, 2010, MSEH's

common stock was quoted nn the OTC BB. In both ?009 and ?01.0, MSEH had tangible assets

and revenues of less than $1 million. MSEH described itself as an exploration stage oil and gas

company.

       20.     CLRH was a Nevada corporation with its principal place of business in Boca

Raton, Florida. From approximately July 2, 2009 through at least May 30, 2010, CLRH's

eolnmon stock traded on the OTC BB,trading at less than $5.00 per share. In both 2009 and

2010, CLRH had tangible assets of less than $1 million, recorded no revel~ues in 2009 and less

than $1 million in 2010. CLRH described itself as manufacturing environmentally friendly

1i~l~ting products.

       21.      At all relevant times, the Issuers qualified as penny stocks because they did not

meet any of the exceptions to the definition of"penny stock" as defined in Section 3(a)(51) of

the Exchange Act and Rule 3a51-1 thereunder.
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                      THIS MARKET MANIPULATION SCHEMES

THE BONU SCHEME

       A.      DelPresto MLF and Individual A Obtain Control of BONU's Public Float

       22.     BOND was originally incorporated in Delaware in or about 2007, udder the name

Moonshine Creations, Inc.("Moonshine"). In or about February 2008, Moonshine sold

approximately 635,000 shares of its common stock in a private placement. On or about February

14,?008, Moonshine filed Form SB-1 with the Commission, purportedly registering the private

placement shares for resale. For the purpose of perpetrating the scheme, DelPresto arranged for

MLF,an entity owned by Individual A,and certain Nominees (the "BOND Control Group")to

obtain control of the majority of the 63,000 shares that had been registered in the Form SB-l.

As a result, the BOND Control Group controlled the majority of the company's purportedly

unrestricted stock.

       23.     In or about December 2008, DelPresto orchestrated a reverse merger between

Moonshine and BioNeutral Laboratories Corporation USA (`Bio Labs"), a private company. In

anticipation of the reverse merger with BioLabs, Moonshine changed its name to BioNeutral

Group, Inc. In connection with the reverse merger, Moonshine's sole officer and director

consented to a 30 for 1 forward stock split that resulted in turning BONU's approximately

63 ,000 purportedly unrestricted shares into approximately 19 million purportedly unrestricCed

shares, substantially all of which the BOND Control Group controlled.

       24.     On or about February 18, 2009, BONU's common stock started being quoted on

the OTC BB under the symbol"BOND".
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       8.      BOND Manipulative Trading

       2~.     At or about the time that BONU's common stock started being quoted on the

OTC BB, DelPresto and Individual A recruited Goodrich, a market maker at Broker-Dealer A,to

assist them in manipulating the price and volume of BOND in furtherance of their scheme. At

Goodrich's direction. DelPresto and Individual A arranged for the majority of the BOND Control

Uroup shares to be deposited into brokerage accounts ~~~ith Goodrich's friend, a stockbroker (tlze

"Stockbroker") at Broker-Dealer B.

       26.     Beginning in or about February 2009, in preparation for the distribution of

promotional mailers and the ultimate "dump" of their BOND shares, DelPresto, Individual A,

and Goodrich orchestrated manipulative trading between Goodrich's market making account at

Broker-Dealer ~ and the BOND Control Group's accounts at Broker-Dealer B to create the

appearance of liquidity and demand for the stock and to inflate the price.

       27.     For example, on or about February 18, 2009, the first day of trading, 100% of that

day's trading volume was attributable to Individual A selling stock from his account at Broker-

Dealer B on the open market to Goodrich's market making account at $1.01 and $1.05 per share.

       28.      After purchasing 4,000 shares on the first day of trading, the following day,

Goodrich sold approximately 17,800 shares at $1.30 per share (approximately 20% higher than

the prior day's closing puce), resulting in a short position in Goodrich's market makinb account

of approximately 13,800 shares. Goodrich covered his short position by purchasing stock from

Individual A, who sold the stock at $1.30 per share from his account at Broker-Dealer B.

       29.      The trades between Goodrich and Individual A were prearranged and created the

false impression. that there t~vas genuine market activity in the stock.




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        C.     The BOND Promotion and its Effect on BONU's Stock Price and Volume

        30.    In preparation for "dt~rnping" their BOND shares, DelPresto and Individual A

arranged and paid for the creation and distribution of a purportedly independent research report

concerning BONU,issued in or about early March 2009. In addition, DelPresto and Individual

A hired a marketing and investment newsletter publisher (the "Publisher") to develop an Internet

advertising campaign which included the creation of an Internet publicity newsletter. Although.

these promotions did not have a dramatic effect on the volume, on or about March ~,?009 the

stock price increased to a high of $l.~b per share.

       D.      The BOND Scheme Falls Anart

        31.    Important to the success of the scheme was DelPresto's and Individual A's

control over trading in the stock, so that they could control both the volume and. price of the

stock, and paint a false picture of liquidity and a rising price. Just as the stock price was

climbing to its high, on or about March 10, 2009, one of BONU's corporate managers (the

"Manager"), who held BOND shares through a nominee, deviated from the scheme and sold

3,000 shares into the open market, against DelPresto's and Individual A's wishes. On that same

day, Individual A sent the Manager a text message, saying,"U need to call me...this stock will

go to a penny." Over the next few weeks, the account controlled by the Manager continued to

sell stock.

        32.    By in or about the end of March, Goodrich, at DelPresto's and Individual A's

direction, withdrew his regular posting of quotes and as a result BONU's price plummeted to a

low of approximately $.22 per share.

        33.    The BOND Control Group did not trade BOND from in or about the end of

March through in or about the end of June 2009. Ii1 or about July 2009, DelPresto and Individual
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A paid. for another round of Internet promotional campaigns which created a temporary increase

in the stock price and enabled Chem to bebin dumping their remaining BOND shares into the

open market at an inflated price, yielding DelPresto total profits of approximately $749,851.

       34.     From or about July 2009 through in or about August ?009, Goodrich's trading in

BOND in accounts associated with the scheme generated at least $51,179 in mark-ups for

Goodrich. and Broker-Dealer A.

IL     THE NXTH SCHEME

       A.       DelPresto, 1VILF, and Individual A Obtain Control of NXTH's Public Float

       35.      NXTH was originally incorporated in Delaware in 2006, under the name Goldvale

Resources, Inc.("Goldvale"). In or about May 2006, Goldvale sold approximately 6 million

shares of its common stock in a private placement. In or about April 2007, the company

completed a second private placement selling approximately 58,000 shares. On or about

November 27, 2007, Goldvale filed Form SB-2 with the Con-imission, purportedly registering the

b,~85,000 private placement shares for resale. For the purpose of perpetrating the scheme,

DelPresto arranged for himself, MLF,an entity owned by Individual A,and certain Nominees

{"NXTH Control Group")to obtain control of the majority of Goldvale's purportedly

uxlrestricted stock.

        36.     In or about December 2008, DelPresto orchestrated a reverse merger between

Goldvale and NXT Nutritionals Holdings, Inc., a private company. In anticipation of the reverse

merger, Goldvale changed its name to NXT Nutritionals Holdings, Inc.{"NXT Nutritionals"). In

connection with the reverse merger, the company completed a 2-for-1 forward stock split,

turning the company's approximately 6,585,000 shares into approximately 13 million

purportedly unrestricted shares, substantially all of which the NXT~-I Control Group controlled.




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       37.     On or about January 12, ?009, NXTH's common stock started being quoted nn

the OTC BB under the symbol "NXTH."

       B.      NXTH Manipulative Trading

       38.     As part. of the scheme, DelPresto and Individual A arranged for the majority of

the NXTH Control Group shares to be deposited into brokerage accounts wit11 the Stockbroker at

Broker-Dealer B. DelPresto and Individual A agreed to sell Goodrich stock from their accounts

at Broker-Dealer B at prearranged prices. In certain instances, and in order to obscure the

coordinated trading, Goodrich arranged with the Stockbroker to rout the orders through an

alternative trading system that matches the buy and sell orders of its subscribers. For example,

on or about February 24, 2009, DelPresto and Individual A each sold 8,000 shares at $1.05 from

their accounts at Broker-Dealer B through the Stockbroker. The Stockbroker routed the sale

orders through the alternative trading system. At or around the same time, Goodrich purchased

16,000 shares at $1.05 through the alternative trading system.

       39.     Beginning in or about July 2009, in preparation for the distribution of the

promotional mailers and the ultimate "dump" of their NXTH shares, DelPresto, Individual A,

and Goodrich arranged to transfer the NXTH Control Group's accounts at Broker-Dealer B to

Goodrich at Broker-Dealer A. Thereafter, Goodrich, at DelPresto's and Individual A's direction.,

orchestrated manipulative trading among the NXTH Control Group's accounts at Broker-Dealer

A, Goodrich's market making account at Broker-Dealer A, and Toomer's client accounts at

Financial Institution 1.

       40.     DelPresto and Individual A agreed to pay Toomey cash in exchange for Toomey

buying large blocks of NXTH for Taomer's clients to create the artificial. appearance of liquidity

and demand for NXTH.




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       41.     From in or about July 200,through in or about October 2009. Toomer purchased

a total of approximately 779,000 shares of NXTH common stock in his client accounts. With

DelPresto's knowledge and agreement, Individual A paid Toomer cash in exchange for making

the open market purchases on behalf of his clients.

       42.     For example, on or about July 16, 2009, a total of496,000 shares of NXTH

traded. Toomey bought approximately 471,000 shares in his clients' accounts (approximately

94% of the shares purchased that day) at the prearranged price of $.99 per share from Goodrich.

Goodrich moved his offer from $2.00 per share to $.99 per share to effect the transactions at the

prearranged price.

       43.     With DelPresto's knowledbe and agreement, and to enhance the appearance of

market interest in the stock, furthering the scheme, Individual A repeatedly used the Friendly

Investors' passwords to trade in their accounts for them, including entering purchases on their

behalf to substantially correspond to sales made from the NXTH Control Group's accounts. For

example, on or about August 6, 2009, Individual ~1 used a Friendly Investor's online brokerage

account password to enter a purchase order of40;000 shares of NXTH at $121 per share. On

the same day, Individual A sold approximately the same number of shares at the exact same

price -- 43,400 shares of NXTH at $121 per share -- from aBroker-Dealer A account that

Individual A owned.

       44.     In addition to fabrica~inb the appearance of liquidity, Individual A —also with the

knowledge and agreement of DelPresto -- employed certain manipulative trading tactics to

gradually increase the stock price. For instance, on or about August 20, 2009, NXTH stock

opened at approximately $1.40 per share. Individual A caused a Friendly Investor to make three




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a00 share purchases, each at successively higher prices—approximately $1.40, $1.50 and $1.~8

(which was the highest price the stock reached in August).

       45.     The manipulative trading described abo~~e had multiple goals. First, the trading

was designed to set the stage for the upcoming NXTH promotional campaign by creating the

false appearance of an attractive price and volume history for the stock.. Second, by selling some

of their NXT~I shares to Toomer's clients, DelPresto and Individual A generated cash to fund. the

NXTH promotional campaign.

       C.      The NXTH Promotion and Its Effect on NXTH's Stock Price and Volume

       46.     In preparation for "dumping" their NXT~I shares, DelPresto and Individual A

hired the Publisher to create alarge-scale promotional campaign touting NXTH. DelPresto and

Individual A paid the Publisher through third parties to hide their involvement.

       47.     Between. on or about September 10, 2009 and on or about October 30, 2009, at

DelPresto's and Individual A's direction, the Publisher sent out millions of e-mail blasts touting

NXT~I, and mailed. numerous glossy newsletters containing packages of NXTH's healthy

alternative sweetener to potential investors.

        48.    The promotion of NXTH was highly successful. On or about January 12, 2009,

when NXTH's stock started trading on the OTC BB,the stock opened at approximately $.51 per

share. From. January through September 9,?009, prior to the promotional campaign, the stock

traded at an average volume of approximately 25,000 shares per day. Once the e-mail blasts and

promotional mailers had been disseminated, the volume soared, reaching a high of approximately

$3.46 per share with approximately 4,531,800 shares traded on or about October 27, 2009.

        49.    During the promotional campaign, and in consultation with DelPresto and

Individual A, Goodrich arranged with a market .maker at another broker-dealer (`i'vlarket Maker




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A")to engage in a pattern of trading intended to artificially increase the reported trading volume

without risk of loss to Market Maker A. In one example of this prearranged pattern, on or about

October 12, 2009, Market Maker A sold short 10,000 shares of NXTI-I at $2.29 per share.

Goodrich then sold 10,000 shares to Market Maker A at $227, approximately $.02 cents per

share less than the price at which Market Maker A had sold the shares, allowing Market Maker A

to cover his short position at a profit.

        ~0.     In additio7z, Market Maker A assisted DelPresto, Individual ~,and Goodrich by

providing bid support, iFneeded. On or about October 27,?009 {a day with reported trading

volume of 4,531,800), at or around 1:45pm, the price of the stock began to decline precipitously

from a high of $3.46 per share. To try to keep the price from falling further, Market Maker A

bought and continued to buy NXTH stock all the way down to $1.45 per share. To cover Market

Maker A's losses; after the close, Goodrich bought approximately 51,500 shares from Market

Maker A at $3.02 per share, well above the closing price of the day.

        51.     From. in or about November 2009 through in or about January 2010, the impact of

the promotional campaign began to wane, the stock price reached a low of approximately $1.15,

and the trading volume began to drop. DelPresto and Individual A,through third parties, paid

the Publisher for another promotional campaign. In or about February 2010, after the second

round of e-mail blasts and promotional mailers had been disseminated, the price of the stock

rebounded to a high of approximately $322 and a total of approximately 33,313,000 shares

traded in that month. As the manipulative activity ceased, both the stock price and the volume

gradually decreased, with t11e price dropping to a low of approximately $.15 per share in or about

Apri12010.




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       52.     Between February 24, 2009 and March 8, 2010, DelPresto and Individual A

dumped substantially all of their NXT~-I shares into the volume that was created on the open

market by their manipulative activity, yielding DelPresto a total profit of approximately

$6,900,898.

       53.     Between in or about July 2009 and in or about February ?01.0, Goodrich's trading

in NXTH in accounts associated with the scheme generated at least $b92,000 in mark-ups for

Goodrich and Broker-Dealer A

III.   THE MSEH SCHEME

       A.      DelPresto MLF and Individual A Obtain Control of MSEH's Public Float

       ~4.     MSEH was originally incorporated in Delaware in 2007 under the name Mesquite

Mining, Inc.("Mesquite"). In or about February 2008, Mesquite filed a Form S-1 registration

statement with the Commission to offer one million shares of its common stack in a public

offering. Mesquite had a public float of approximately 1 million shares. A micro-cap securities

and transactional lawyer (the "Attorney") facilitated a transaction in which all 1 million shares

were sold to the Attorney, an entity controlled by DelPresto, and an entity controlled by

Individual A (the "MSEH Control Group").

       5~.     On or about. June 19, 2009, Mesquite changed its name to Mesa Energy Holdings,

Inc. in anticipation of a reverse merber with Mesa Energy, Inc., a private company. Following a

14-to-1 forward stock split in connection with the reverse merger, the MSEH Control Group's

approximately one million shares turned into approximately 14 million purportedly unrestricted

shares. Both before and after the split, the MSEH Control. Group owned the majority of MSEH's

unrestricted shares.




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       B.      MSEH Manipulative Trading

       56.     Beginning in or about January 2010, in preparation for the distribution of the

promotional mailers and the ultimate "dump'" of their MSEH shares, DelPresto, Individual A,

Toomer, and Goodrich orchestrated manipulative trading between the MSEH Control Group's

accounts and Toomer's client accounts at Financial Institution 1.

        57.    for example, on or about January ~, 2010, Goodrich, at Individual A's direction

and with DelPresto's knowledge and consent, caused a Friendly Investor account at Broker-

Dealer A to purchase 117,000 shares of MSEII at $.76. That same day, Individual A sold

approximately 120,000 shares of MSEH at $.76 from his account at Broker-Dealer A.

Goodrich's execution of these two opposite orders in accounts controlled by Individual A

constituted matched trading.

        58.     DelPresto and Individual A agreed to pay Toomer cash in exchange for Toomer

buying large blocks of iVISEH for Toorner's clients to create the artificial appearance of liquidity

and demand :for MSEH.

        ~9.     In or about l~ebruary 2009, Toomey purchased a total of approximately 200,000

shares of MSEH common stock in his customer accounts. With DelPresto's knowledge and

agreement, Individual A paid Toomey cash in exchange for making the open market purchases

on behalf of his clients.

        60.     For example, nn or about February 16, 201.0, Toomey purchased approximately

 100,000 shares of MSEH on the open market at $1.10 per share. On the same day. Goodrich

filled Tootner's purchases by selling approximately 100,000 shares in the open. maxket at $1.10

 per share on behalf of Individual. A.




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       61.     At various times during the relevant period, DelPresto and Individual A directed

Goodrich to "sweep the otters" to move the stock price hibher, with the understanding that they

would protect Goodrich if his purchases resulted in Broker-Dealer A taking on too much risk.

For example on March 9, 2010, following Individual A's instructions to "sweep the offers,"

Goodrich bought stock from $1.91 to $2.01 per share. Tv protect Goodrich from the risks of

such. a large long position, DelPresto arranged for one of the Nominees to purchase 100,000

shares in the Nominee's account at Broker-Dealer A from Goodrich's market making account at

Broker-Dealer A.

       62.     The manipulative trading described above had multiple goals. First, the trading

was designed to set the stabe for the upcoming MSEH promotional campaign by creating the

false appearance of an attractive price and volume history for the stock. Second. by selling some

of their MSEH shares to Toomer's clients, DelPresto and Individual A generated cash to fund the

MSEH promotional campaign.

       G       The MSEH Promotion and Its Effect on 1VISEH's Stock Price and Volume

       63.     In preparation for "dumping" their MSEH shares, DelPresto and Individual A

hired the Publisher to create a large scale promotional campaign, comprised of e-mail blasts and

glossy promotional mailers, touting MSEH. DelPresto and Individual A paid the Publisher

through third parties to hide their involvement.

       64.     From on or about February 22, 2010 through on or about March 31, 2010, at

DelPresto's and Individual A's direction, the Publisher sent out millions of e-mail blasts and

mailed numerous glossy newsletters touting MSEH to potential investors.

        b5.    The promotion of MSEH was extremely successful. On or about December 14,

2009, MSEH opened on the OTC BB at approYzmately $1.4~ per share. From in or about
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December 2009 through on or- about I'ebruary 19, 2010, before the promotional campaign began,

the stock traded at an average volume of approximately 112,170 shares per day. Once the e-mail

blasts and promotional mailers had been disseminated, the stack price and volume soared,

reaching a high of approximately $3.50, with approximately 4,448,800 shares traded on or about

March 23, 2010. As the matlipulative activity ceased, both the stock price and the volume

gradually decreased, with the price dropping to a low of approximately $.51 per share in or about

May 2010.

       66.     Between December 30,?009 and. April 26, 2010, DelPresto and Individual A

dumped substantially all of their MSEH shares into the volume that was created on the open

market by their manipulative activity, yielding DelPresto total profits of approximately

$3,649,268.

        67.    Between in or about February 2009 and in or about Apri12010, Goodrich's

trading in MSEH in accounts associated with the scheme generated at least $~~ 1,648 in mark-

 ups for Goodrich and Broker-Dealer A.

IV.     The CLRH Scheme

        A.     velPresto, MLF,and Individual A Obtain Control of CLRH's Public Float

        68.    CLRH was originally incorporated in Nevada in or about 2006, under the name

 Airtime DSL ("Airtime"). Iii March 2007, Airtime conducted a private placement, offering

 approximately 5 million shares of common stock for sale, and in May 2007 Airtime conducted

 another private placement offering approximately 645,000 shares of common stock. On or about

 October 11, 2007, Airtime tiled a Form SB-2 registration statement for the resale of

 approximately 9,625;000 shares of Airtime's common stock, which included the two private

 placement offerings and approximately 4 million shares previously owned by the founder of
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Airtime. For the purpose of perpetratinb the scheme, DelPresto, MLF, Individual ~, an entity

owned by Individual A, and certain Nominees (the "CLRH Control Group'') purchased the

majority of the company's purportedly unrestricted shares.

       69.     In or about April 2009, DelPresto orchestrated a reverse merger betti~een CLRH

and. TAG industries, Inc., a private company. In connection. with the reverse merger, Airtime

declared a stock dividend giving Airtime shareholders l.~ shares for every share they owned.

After the stock dividend, t11e company had approximately 24,062,500 purportedly unrestricted

shares oirtstandinb and Airtime chanced its name to Clear-Cite. The CLRH Control Group

owned the majority of the purportedly unrestricted shares of CLRH. On or about July 23, 2009,

CLRH's common.stock started being quoted on the OTC BB under the symbol "CLRH".

        B.     CLRH Manipulative Trading

        70.    As part of the scheme, DelPresto and Individual A an•anged for the majority of

the CLRH Control Group shares to be deposited into brokerage accounts with Goodrich at

 Broker-Dealer A. With DelPresto's knowledbe and consent, Goodrich was responsible for

 facilitatin; the coordinated trades between the CLRH Control Group's accounts, the Friendly

 Investors' accounts, and Toomer's client accounts.

        71.     Beginning in or about October 2009, in preparation for the distribution of the

 promotional mailers and t,11e ulfimate "dtiimp" of their CLRH shares, DelPresto, Individual A,

 Toomer, and Goodrich orchestrated manipulative trading between the CLRH Control Group's

 accounts and Toomer's client accounts at .Financial Institution 1.

        72.     DelPresto and Individual A agreed to pay Toomer cash in exchange for Toomer

 buying large blocks of CLRH for Toomer's clients to create the artificial. appearance of liquidity

 and demand for CLRI-I.




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          73.    In or about C)ctober 2009, ~T'oomez• purchased a total of ~~pproximately 12 million

shares of CLRH in his client accounts. With DelPresto's knowledge and a~reeinent, Individual

A paid. Toomer cash in exchange for making the open market purchases on behalf of his clients.

          7=~.   For example, on or about October 20, 2009, Toomer bought approximately

200,000 shares of CLRI-I on the open market at $1.06 per share on behalf of his clients. On the

 same day, Goodrich filled Toomer's purchases by selling 56,440 shares of CLRH on behalf of

 MLF, 129,000 shares of CLRH on behalf of Individual A,and 50,000 shares from a Nominee

 account.

          75.    On November 23, 2009, following Individual A's instructions to "sweep the

 offers," Goodrich purchased the stock offered at each price ranging from $L~8 through $1.66

 and bought approximately 80,000 shares more than he sold. That day, to protect Goodrich from

 risk, DelPresto and Individual A arranged for a Nominee account at Broker-Dealer A to purchase

 $0,000 shares of stock from Goodrich's market-making account at Broker Dealer A for $1.64 per

 share.

          76.    The manipulative trading described above had multiple goals. First, the trading

 was designed to set the stage for the upcoming CLRH promotional campaign by creating the

 false appearance of an attractive price and volume history for the stock. Second, by selling some

 of their CLRH shares to "roomer's clients, DelPresto and Individual A generated cas11 to fund the

 CLRH promotional campaign.

          C,     The CLRH Promotion and Its Effect on CLRH's Stock Price and Volume

          ~7.    In preparation for "dumpinb" their CLRH shares, DelPresto and Individual A paid

 the Publisher, through third parties, to create a large scale promotional campaign touting CLRH.




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        78.    From on or about October 2009 throu;h December 2009, at De1:Presto's and

Individual A's direction, the Publisher sent out promotional mailers and millions of e-mail blasts

touting CLRH.

        79.    The promotion of CLRH was successful. On or about July 2~, 2009, prior to the

promotional campaign, when CLRH's stock starting trading on the OTC BB,the stack opened at

approximately $1.O 1 per share. From July throtiigh on or about September 30, 2009, before the

promotional campaign began, the stock traded an average volume of approximately 2,200 shares

per day. Once the e-mail blasts and promotional mailers had been. disseminated, the volume

soared, reaching a high of approximately 1,586,500 shares traded on October 21, 2009. The

stock price also increased dramatically, reaching a high of approximately $2.07 per share on or

about November 16, 2009.

        80.    From in or about January 2010 through on or about March 30, 2010, the impact of

the promotion began to wane, the trading volume began to drop and. the stock price reached a

low of approximately $1.00. DelPresto and Individual A,through third parties, paid the

Publisher for another promotional. campaign. In or about April, after the second round of e-mail

blasts and promotional mailers had been disseminated., the price ofthe stock rebounded to a high

of approximately $1.76 per share and a total of approximately 40,874,700 shares traded. As the

 manipulative activity ceased, both the stock price and the volume gradually decreased, with the

price dropping to a low of approximately $.10 per share in or about May 2010.

        81.     Between August 14, 2009 and April 14, 2010, DelPresto and Individual A

 diunped substantially all of their CLRH shares into the volume that was created on the open

 market by their manipulative activity, yielding DelPresto total profits of approximately

$1,759,852.




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        82.     Front in or about July 2009 through in or about April 2010, Goodrich's trading in

CLRH in accounts associated with the scheme ben rated at least $231,000 in mark-ups for

Goodrich and Broker-Dealer A.

                                FIRST CLAIM FOR RELIEF
                       Violations of Section 17(a)(1) of the Securities Act
                               (DelPresto, MLF,and Goodrich)

        83.     Paragraphs 1 throubh 82 are incorporated by reference as if set forth fully herein.

        8~.     Sy virtue of the foregoinb, DelPresto, MLF,and Goodrich, directly or indirectly,

singly or in concert with others, by use of the means or instruments of transportation or

communication in interstate commerce, or of the mails, in the offer or sale of BOND,NXTH,

MSEH,and CLRH securities, knowingly or recklessly employed devices, schemes, or artifices to

defraud.

        8~.     By virtue of the foregoing, DelPresto, MLF,and Goodrich violated and, unless

restrained and enjoined, will again violate, Section 17(a)(1) of the Securities Act [1~ U.S.C.

77q(a)(1)~.

                                SECOND CLAIM FOR RELIEF
                        Violations of Section 17(a)(1) of the Securities Act
                                            (Toomer)

        $6.     Paragraphs 1 through 82 are incorporated by reference as if set forth fully herein.

        87.     By virtue if the foregoing, DelPresto, MLF,and Goodrich, directly or indirectly,

 singly or in concert with others, by use cif the means or instruments of trazlsportation or

 communication in interstate commerce, or of the mails, in the offer or sale of BONG,NXTH,

 MSEH,and CLRH securities, engaged in transactions, practices, or courses of business which

 operated or would operate as a fraud or deceit upon purchasers.




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                                THIRll CLAIM FOR RELIEF
                       Violations of Section 17(a)(3) of the Securities Act
                                   (DelPresto, MLF,and Goodrich)

        88.    Parabraphs 1 through 82 are incorporated by reference as if set forth fully herein.

        89.    By virtue of the foregoing, DelPresto, MLF,and Goodrich, directly or indirectly,

singly or in concert with others, by use of the means or instruments of transportation or

communication in interstate commerce, or of the mails, in the offer or sale of BOND,NXTH,

MSEH,and CLRH securities, engaged in transactions, practices, or courses of business which

operated. or would operate as a fraud or deceit upon purchasers.

        90.     By virtue of the foregoing, DelPresto, MLF,and Goodrich violated and, unless

restrained and enjoined, will again violate, Section 17(a)(3) of the Securities Act [15 U.S.C. §

77q(a)~3)~

                               FOURTH CLAIM FOR RELIEF
                       Violations of Section 17(a)(3) of the Securities Act
                                           (Toomey)

        91.    Paragraph 1 through 82 are incorporated by reference as if set forth fully herein.

        92.     By virtue of the foregoing, Toorner, directly or indirectly, singly or in concert

 with others, by use of the means or instruments of transportation or communication in interstate

commerce, or of the mails, in the offer or sale of NXTH, MSEH,and CLRH securities engaged

in transactions, practices, or courses of business which operated or would. operate as a fraud or

 deceit upon purchasers.

        93.     By virtue of the foregoing, Toomey violated and, unless restrained and enjoined,

 will again violate, Section 17(a)(3) of the Securities Act[15 U.S.C. § 77q(a)(3)].




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                                FIFTH CLAIM FOR RELIEF
                        Violations of Section 10(b) of the Exchan6e Act
                         and Rules 1Ob-5(a) and lOb-5fc) Thereunder
                                DelPresto, MLF and Goodrich

       94.     Paragraphs 1 throubh 82 are incorporated by reference as if set forth filly herein.

       95.     By virtue of the foregoing, DelPresto, MLF,and Goodrich, directly or indirecCly,

singly or in concert with others, in connection with the purchase or sale of BONI1, NXTH,

ivISEH, and CLRH securities, by use of the means or instrl.imentalities of interstate eoinmerce, or

of the mails, or of a facility of a national securities exchange, knowingly or recklessly employed

devices, schemes, or artifices to defraud; and engaged in acts, practices. or courses of business

which operated or would operate as a fraud or deceit upon others.

        96.             By virtue of the foregoing, DelPresto, MLF,and Goodrich violated and,

unless restrained and enjoined, will again violate, Section 10(b) of the Exchange Act [l~ U.S.C.

§ 78j(b)] and Rules 10b-5(a) and lOb-5(c) therelmder [17 C.F.R. ~~ 240.1Ob-5(a), 24010b-5(c)].

                                SIXTH CLAIM FOR RELIEF
                        Violations of Section 10(b) of the Exchange Act
                         and Rules lOb-5(a) and lOb-~(c) Thereunder
                                           (roomer)

        97.     Parabraphs 1 through 82 are incorporated by reference as if set forth fully herein.

        98.     By virtue of the foregoing, Toomey, directly or indirectly, singly or in concert

with others, in connection with the purchase or sale of NXTH, MSEH,and CLRH securities, by

use of the means or instrumentalities of interstate commerce, or of the mails, or of a facility of a

national securities exchange, knowingly or recklessly employed devices, schemes, or artifices to

 defraud; and engaged in acts, practices, or courses of business which operated or would operate

 as a fraud or deceit upon others.

        99.     By virtue of the foregoing, roomer violated and, unless restrained and. enjoined,




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will again violate, Section 10(b) of the Exchange Act [1~ U.S.C. ~ 78j(b)] and Rules lOb-5(a)

and lOb-5(c) thereunder [17 C.F.R.~~'~ 240.1Ob-5(a), 240.1Ob-5(c)~.


                                    PRAYER FOR RIELIEF

       WHEREFORE,the Commission respectfully requests that the Court enter a Final

Tudgment:

                                                 I.

       Permanently restraining and enjoininb DelPresto, MLF,Toomer, and Goodrich, their

agents, servants, employees, attorneys and other persons in active concert or participation with

them. who receive actual notice of the injunction by personal. service or otherwise, and each of

them,from directly or indirectly violating Section 17(a) ofthe Securities Act[15 U.S.C. S

77q(a)] and Section 10(b) of the Exchan;e Act [15 U.S.C. ~ 78j(b)] and Rule lOb-5 thereunder

[17 C.F.R. § 240.1Ob-5].

                                                 II.

       Ordering DelPresto, MLF,Toomer, and Goodrich to disgorge all ill-gotten gains received

directly or iizdirectly as a result of the violative conduct alleged herein, and to pay prejudgment

interest thereon.




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                                               III.

       Ordering DelPresto, MLF,Toomer, and Goodrich to pay civil money penalties pursuant

to Section 20(d) of the Securities Act [15 U.S.C. 5 77t(d)] and. Section 21(d)(3) of the Exchange

apt Cls V.s.c. ~ ~st~~a)(~)~.
                                               IV.

       Pursuant to Securities het Sectiozz 20(g)[15 U.S.C. ~ 77t(g)~ and Exchange Act Section

21(d)[15 U.S.C. ~ 78u(d)~, prohibiting Del~Presto, MLF, Toomei•, and Goodrich from

participating in any offering of penny stock; and




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                                                  V.

         Granting such other and further relief as this Couz-t deems just and appropriate.

Dated:          November 17, 2016
                New York, New York

                                               SECURITIES AND EXCHANGE COMMISSION



                                               By:               J.-
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